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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DWAYNE LUCAS,                                     Case No. 21-cv-02282-JST
                                                        Plaintiff,
                                   8
                                                                                           ORDER OF DISMISSAL
                                                 v.
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                                  10     M ATCHLEY, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On March 31, 2021, Plaintiff filed this pro se civil rights action pursuant to 42 U.S.C.

                                  14   § 1983. ECF No. 1. That same day, the Clerk of the Court informed Plaintiff that this action was

                                  15   deficient because he neither paid the filing fee nor submitted an in forma pauperis application.

                                  16   ECF No. 2. Plaintiff was instructed to respond within twenty-eight days of the date of the order.

                                  17   ECF No. 2. The deadline has passed, and Plaintiff has not paid the filing fee or submitted an in

                                  18   forma pauperis application, or otherwise communicated with the Court. The Court therefore

                                  19   DISMISSES this action without prejudice. Because this dismissal is without prejudice, Plaintiff

                                  20   may move to reopen the action. Any such motion must be accompanied by either the full filing

                                  21   fee or a complete in forma pauperis application.

                                  22          IT IS SO ORDERED.

                                  23   Dated: October 19, 2021
                                                                                       ______________________________________
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                                                                                                     JON S. TIGAR
                                  25                                                           United States District Judge

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